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                             UNITED STATES DISTRICT COURT

                             SOUTHERN DISTRICT OF ILLINOIS




    Larry Clark, Joseph Hauser, Lydia              CASE NO. 3:22-CV-628-NJR
    Johnson, and Linda Cavazos,
    individually, and on behalf of those           FIRST AMENDED CLASS ACTION
    similarly situated,                            COMPLAINT

                         Plaintiffs,               Demand for Jury Trial

           v.

    McDonald’s Corporation,

                         Defendant.
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                FIRST AMENDED CLASS ACTION COMPLAINT
        Plaintiffs Larry Clark, Joseph Hauser, Lydia Johnson, and Linda Cavazos

bring this action, individually and on behalf of all others similarly situated, against
Defendant McDonald’s Corporation. Plaintiffs make the following allegations
pursuant to the investigation of counsel and based upon information and belief,
except as to the allegations specifically pertaining to themselves, which are based
on personal knowledge.
                            NATURE OF THE ACTION

        “The safety and quality of our food is a top priority and we are
        constantly innovating to strive to meet and exceed our customers’
        expectations.” 1

        “Providing safe food is our number one priority and a
        responsibility that we take seriously. Our customers expect
        McDonald’s to maintain food safety standards and protocols and
        we’re working hard to ensure we always meet those
        expectations.”2

                               McDonald’s Corporation


        1.    Plaintiffs bring this class action lawsuit on behalf of themselves and

similarly situated consumers (“Class Members”) who purchased for personal, family

or household use certain food products (“Products”)3 which are unfit for their


1 McDonald’s 2021 Notice of Annual Shareholders’ Meeting and Proxy Statement,
“Our Impact and Brand Purpose” at 10 (emphasis added).
https://www.sec.gov/Archives/edgar/data/63908/000120677421001039/mcd_courtesy-
pdf.pdf (filed April 8, 2021).
2 McDonald’s website, “Food Quality and Sourcing: Food Safety,”
https://corporate.mcdonalds.com/corpmcd/our-purpose-and-impact/food-quality-and-
sourcing/food-safety.html (emphasis added).
3 Products as used herein means the food item as well as any and all containers,
wrappers, and packaging used to package, seal, protect, or deliver the food item to
the consumer. The action concerns all McDonald’s Products that contain PFAS,
including but not limited to: the Big Mac, Chicken McNuggets, Cookies, and French


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intended use because they contain unsafe per- and polyfluoroalkyl substances

(“PFAS”).

       2.     The Products are formulated, designed, manufactured, advertised,

distributed, prepared, sold, and delivered by Defendant to consumers, including

Plaintiffs, throughout the United States.

       3.     Defendant is one of the largest restaurants in America with annual

sales of $23 Billion.4

       4.     With a brand built by celebrity endorsements including Kanye West,

Bill Simmons, Heidi Klum, and Michael Jordan, Defendant operates and distributes

its Products in all 50 states and sells over 1,500,000 Big Macs every day.5

       5.     The Big Mac is McDonald’s best-selling product. It was created in 1967

at the McDonald’s restaurant on McKnight Road in Ross Township, Pennsylvania

and debuted at the McDonald’s restaurant in Uniontown, Pennsylvania as a way to

feed hungry steelworkers. 6 It now has a museum dedicated to it, and to celebrate

its 25th anniversary, the City of Pittsburgh renamed itself “Big Mac, USA.”7



Fries. These particular Products have been independently tested and found to
contain PFAS. Discovery will reveal the exhaustive list of substantially similar and
defective McDonald’s products that are included in this action.
4 Julie Creswell, McDonald’s, now with higher prices, topped $23 billion in revenue
in 2021, NEW YORK TIMES (Jan. 27, 2022),
https://www.nytimes.com/2022/01/27/business/mcdonalds-earnings.html.
5 William Grimes, Michael James Delligatti, Creator of the Big Mac, Dies at 98, NEW
YORK TIMES (Nov. 30, 2016), https://www.nytimes.com/2016/11/30/business/michael-
james-delligatti-creator-of-the-big-mac-dies-at-98.html.
6 Barbara Vancheri, Golden Arch Angel, PITTSBURGH POST GAZETTE (May 4, 1993).
7 Hollis Johnson, An ode to the Big Mac:, BUSINESS INSIDER (Jul. 16, 2017),
https://www.businessinsider.com/why-the-mcdonalds-legendary-big-mac-is-
americas-burger-2017-7.



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        6.    It is known as America’s most popular hamburger, and has been

described as “an American institution, like Johnny Appleseed.”8

        7.    Unfortunately, each time an American buys a Big Mac, they are

exposed to high levels of PFAS.

        8.    Shockingly, each time an American buys the Products for their child,

they are exposing their child to high levels of PFAS.




        9.    PFAS are a group of synthetic chemicals known to be harmful to both

the environment and humans.

        10.   PFAS are known as “forever chemicals” because the carbon-fluorine

bonds in PFAS are extremely strong and thus are not appreciably degraded under

environmental conditions. The continued use of PFAS is, by their nature,




8Amy Wallace, Big Mac mythos is a state of mind on a sesame bun, The Baltimore
Sun (Jan. 18, 1994), https://www.baltimoresun.com/news/bs-xpm-1994-01-18-
1994018112-story.html.

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unsustainable, because it will necessarily lead to a greater concentration of PFAS in

the environment. In some case, PFAS will survive over 1000 years.

        11.   Exposure to PFAS can be incredibly devastating to vulnerable

populations including young children and pregnant women. PFAS are capable of

crossing the placenta, meaning pregnant women transfer PFAS to their unborn

children. Women exposed to PFAS during pregnancy have higher risks of gestational

diabetes and pre-eclampsia, and their babies are more likely to undergo abnormal

growth in utero, leading to low birth weight, and later face an increased risk of

childhood obesity and infections.

        12.   Because PFAS persist and accumulate over time, they are harmful

even at very low levels.

        13.   Scientists are studying—and extremely concerned about—how PFAS

affect human health and how the risks may be underestimated. The CDC outlined

“a host of health effects associated with PFAS exposure, including cancer, liver

damage, decreased fertility, and increased risk of asthma and thyroid disease.”9

        14.   Of particular concern is the use of PFAS in food product packaging

because of the likelihood of migration into fast food.




9Harvard T.H. Chan Sch. of Pub. Health, Health risks of widely used chemicals may
be underestimated (June 27, 2018), https://www.hsph.harvard.edu/news/hsph-in-
the-news/pfas-health-risks-underestimated/.


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        15.   For example, foods that have high levels of sodium and fat – like

Defendant’s Products - have strong likelihoods of PFA migration from the food

product packaging.10

        16.   The use of PFAS in its Products stands in stark contrast to McDonald’s

brand identity which espouses food safety. In almost every medium, McDonald’s

Corporation tells consumers, investors, and the general public that the Products are

safe.

        17.   Defendant represents that the Products are safe and effective for their

intended use, and reasonable consumers expect that Products marketed and sold to

be ingested will not contain dangerous, synthetic chemicals like PFAS. Contrary to

Defendant’s representations, the Products are not safe because they contain PFAS,

which have a negative impact on the health of humans.

        18.   While consumers expect their food to be free of harmful toxins,

McDonald’s Corporation goes further and represents that “[w]e integrate it [food

safety] into every aspect of our operations – from food sourcing and menu

development to packaging, distribution and logistics, and the daily running of our

restaurants.”11 Defendant certifies these food safety standards from “farm to fork.”12

        19.   Even though McDonald’s Corporation has been using PFAS in its

Products for decades, it repeatedly denied that PFAS were used in the Products.


10 Ramírez Carnero A, Lestido-Cardama A, Vazquez Loureiro P, Barbosa-Pereira L,
Rodríguez Bernaldo de Quirós A, Sendón R., Presence of Perfluoroalkyl and
Polyfluoroalkyl Substances (PFAS) in Food Contact Materials (FCM) and Its
Migration to Food, FOODS 2021;10(7):1443. Published 2021 Jun 22.
11 McDonald’s, supra note 2.
12 Id.



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Only recently in 2021, McDonald’s Corporation admitted that PFAS are used in the

Products.

      20.    Instead, Defendant represented – and continues to represent - that its

Products are safe, high quality, and appropriate for consumption.

      21.    However, Defendant fails to tell consumers that PFAS, which can have

adverse effects on humans and can bioaccumulate in human’s bodies, are present in

high levels in its Products. Even very low levels of PFAS can be toxic to humans.

      22.    For the last three decades, Defendant’s Products have been

misleadingly represented, marketed, and advertised because Defendant failed to

disclose the presence of PFAS in its Products. This failure to warn injured

reasonable consumers, including Plaintiffs, who reasonably relied upon Defendant’s

misleading representations that its Products were safe. Had Plaintiffs and the

putative Class Members known that McDonald’s Products contained PFAS, they

would not have purchased the products and/or would have paid less for them.

      23.     McDonald’s Corporation is one of the largest companies in America,

and is valued in excess of $200 billion.

      24.    It has the resources to comply with its representations and produce a

Product safe for consumption. However, it intentionally chooses to include PFAS in

its Products in an effort to further boost profits by cutting costs while also

increasing sales by concealing the presence of PFAS in its Products.

      25.    This “profits over people” approach allows McDonald’s Corporation to

save pennies per unit sold, and instead pass these “costs” at a far greater rate onto




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generations of consumers that must live with the consequences of McDonald’s

willful inclusion and concealment of dangerous PFAS in McDonald’s Products.

      26.      The Products that Plaintiffs and Class Members purchased are either

worthless or worth less than the purchase price because Defendant failed to disclose

that they contain PFAS which are dangerous to the health of the consumer and to

the environment. Plaintiffs seek damages and equitable remedies on behalf of

himself and the proposed Classes, defined herein.


                                        PARTIES
      27.      Plaintiff Larry Clark is a citizen of Illinois as he has been at all

relevant times during the conduct alleged in this Complaint.
            a. During the last ten years, and as recently as January 2022, Mr. Clark
               has routinely visited McDonald’s establishments throughout the
               United States, and primarily in Illinois where he purchased the
               Products for personal consumption. In Illinois, Mr. Clark’s purchases
               have primarily been in this District and have included purchases in

               Effingham County, Jackson County, Saint Clair County, and Madison
               County where he presently lives.
      28.      Plaintiff Joseph Hauser is a citizen of Pennsylvania as he has been at
all relevant times during the conduct alleged in this Complaint.
            a. During the last six years, and as recently as February 2022, Mr.
               Hauser has routinely visited McDonald’s establishments throughout
               the United States, and primarily in Pennsylvania where he purchased
               the Products for personal consumption.
      29.      Plaintiff Lydia Johnson is a citizen of Virginia as he has been at all
relevant times during the conduct alleged in this Complaint.



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            a. During the last four years, and as recently as March 2022, Ms.
               Johnson has routinely visited McDonald’s establishments throughout

               the United States, and primarily in Virginia where she purchased the
               Products for personal consumption.
      30.      Plaintiff Linda Cavazos is a citizen of Texas as he has been at all
relevant times during the conduct alleged in this Complaint.
            a. During the last four years, and as recently as March 2022, Ms.
               Cavazos has routinely visited McDonald’s establishments throughout
               the United States, and primarily in Texas where she purchased the
               Products for personal consumption.
      31.      Defendant is a Delaware corporation with its principal place of
business in Chicago, Illinois.


                           JURISDICTION AND VENUE
      32.      This Court has personal jurisdiction over Defendant. Defendant
purposefully avails itself of the Illinois consumer market and distributes the
Products to many locations within this District and hundreds of retail locations
throughout the State of Illinois, where the Products are purchased by thousands of
consumers every day. Further, Defendant’s principal place of business is located
within the State of Illinois.
      33.      This Court has original subject-matter jurisdiction over this proposed
class action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the
Class Action Fairness Act (“CAFA”), explicitly provides for the original jurisdiction
of the federal courts in any class action in which at least 100 members are in the
proposed plaintiff class, any member of the plaintiff class is a citizen of a State

different from any defendant, and the matter in controversy exceeds the sum of
$5,000,000.00, exclusive of interest and costs. Plaintiffs allege that the total claims

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of individual members of the proposed Class (as defined herein) are well in excess of
$5,000,000.00 in the aggregate, exclusive of interest and costs.

         34.   Venue is proper in this District under 28 U.S.C. § 1391(a). Plaintiff
Clark’s purchases of Defendant’s Products, substantial acts in furtherance of the
alleged improper conduct, including the dissemination of false and misleading
information regarding the nature, quality, and/or ingredients of the Products,
occurred within this District and the Defendant conducts business in this District.
         35.   Venue is in the Benton Division of this District because a substantial
part of the events or omissions giving rise to the claim occurred in Effingham
County and Jackson County, i.e., Plaintiff Clark’s purchases of the Products and his
awareness of the issues described herein.


                           FACTUAL ALLEGATIONS
         A.    McDonald’s Tells Consumers Its Products Are Safe

         36.   Consumers inherently expect that food products are safe for

consumption.

         37.   Defendant goes further, and assures consumers that its Products are

safe through a widescale marketing campaign and focused brand building.

         38.   In almost every arena – from shareholder meetings to magazine

features to advertising – Defendant prominently represents that it has effective

systems that ensure its Products are safe.

         39.   In fact, Defendant tells consumers that “[p]roviding safe food is our

number one priority and a responsibility that we take seriously.”13



13   McDonald’s, supra note 2.

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         40.   Defendant knows that “customers expect McDonald’s to maintain food

safety standards and protocols and we’re working hard to ensure we always meet

those expectations.”14

         41.   To build upon consumers’ desire for food safety, the company assures

consumers that its focus on food safety is not new and claims that it “has been at

the core of everything we do for decades.”15

         42.   Defendant claims that its focus on safety is not limited to just a single

aspect of the consumer’s experience, and rather, “[w]e integrate it into every aspect

of our operations – from food sourcing and menu development to packaging,

distribution and logistics, and the daily running of our restaurants.”16

         43.   In other words, McDonald’s Corporation assures consumers that they

are safe – “from farm to fork” – at every stage of their experience with the

Product.17

         44.   Former Director of Quality Systems, Lamont Rumbers states, “Food

safety is a never-ending process for McDonald’s, from raw materials, through the

facilities and distribution centers, and all the way to the restaurants…it’s a top

priority at McDonald’s. It’s a fundamental standard of our business and our

heritage, and will never be compromised.”18




14 Id.
15 Id.
16 Id.
17 Id.
18 Id.




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      45.      McDonald’s Corporation is known for its management and focus on

every stage of the supply chain. It also purports to apply intensive food safety

standards to each stage.

      46.      As one article describes: 19

            a. “At the center of the McDonald’s operation is a supplier food safety and

               quality assurance program that ranks as a corporate top priority.

               Suppliers and franchisees must follow rigorous quality and safety

               guidelines if they want to work with McDonald’s, because in a high-

               profile business that bases success on a consistent customer experience

               no matter where you are in the world, setting explicit food safety and

               quality expectations for suppliers and restaurant employees is the only

               way to make it work.”

            b. “McDonald’s quality assurance personnel talk daily with each supplier

               about their processes, discussing expectations, challenges and ideas for

               improvement.”

            c. “All suppliers must be willing and able to meet McDonald’s stringent

               food safety and quality standards, which include dedicated production

               lines, storage facilities and production formulas. The McDonald’s

               system requires constant quality checks throughout the supply chain

               process and proven traceability programs, at least one step back to the



19Sarah Fister Gale, McDonald’s USA: A Golden Arch of Supply Chain Food Safety,
FOOD SAFETY MAGAZINE (Feb. 1, 2006), https://www.food-safety.com/articles/4639-
mcdonalds-usa-a-golden-arch-of-supply-chain-food-safety.

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               ingredient supplier, and in some cases, tracking all the way back to the

               farm. The suppliers are expected to audit their own ingredient and raw

               material suppliers to ensure that those producers upstream also meet

               the high food safety and quality requirements of the company, which

               includes the implementation of Hazard Analysis and Critical Control

               Points (HACCP) and allergen control programs.”

      47.      Defendant understands how consumers interpret its safety

representations: “McDonald’s customers expect and trust that, no matter where

they are in the world, McDonald's food is safe for them and their families. This trust

is one reason that food safety is McDonald's number one priority and a core part of

our mission - to serve safe and delicious food to our customers each and every

day.”20

      48.      In a recent SEC filing, McDonald’s puts a great emphasis on it’s the

safety and quality of its food and packaging. In fact, it is mentioned multiple times

as being part of the company’s purpose:21

            a. “The safety and quality of our food is a top priority and we are

               constantly innovating to strive to meet and exceed our customers’

               expectations. This also includes sourcing quality ingredients in

               responsible ways, supporting farming communities and evolving the

20 McDonald’s Official Website, Food Safety, Everyone’s Business,
https://corporate.mcdonalds.com/corpmcd/en-us/our
stories/article/ourstories.world_food_safety.html.
21 McDonald’s 2021 Notice of Annual Shareholders’ Meeting and Proxy Statement,
“Our Impact and Brand Purpose” at 10.
https://www.sec.gov/Archives/edgar/data/63908/000120677421001039/mcd_courtesy-
pdf.pdf (filed April 8, 2021).

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               Happy Meal to make balanced meals more accessible to families

               around the globe.”

            b. “McDonald’s partners with a global network of suppliers and farmers

               to provide quality ingredients and packaging materials. By

               engaging our supply chain, we have greater visibility and together

               work toward commitments that support more sustainable production,

               so we can continue to serve our customers delicious meals they know

               and love.”

      49.      Defendant’s 2020 Annual Report prominently focuses on safety:22

            a. “The Company has established and enforces high food safety and

               quality standards. The Company has quality centers around the

               world designed to promote consistency of its high standards. The

               quality management systems and processes not only involve ongoing

               product reviews, but also on-site and virtual supplier visits. A Food

               Safety Advisory Council, composed of the Company’s internal food

               safety experts, as well as suppliers and outside academia, provides

               strategic global leadership for all aspects of food safety. We have

               ongoing programs to educate employees about food safety practices,

               and our suppliers and restaurant operators participate in food safety

               trainings where we share best practices on food safety and



22McDonald’s Corporation Annual Report: 2020,
https://corporate.mcdonalds.com/content/dam/gwscorp/assets/investors/financial-
information/annual-reports/2020%20Annual%20Report.pdf (emphasis added).

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               quality. In addition, the Company works closely with suppliers to

               encourage innovation and drive continuous improvement. Leveraging

               scale, supply chain infrastructure and risk management strategies, the

               Company also collaborates with suppliers toward a goal of achieving

               competitive, predictable food and paper costs over the long term.”

            b. “Our ability to increase sales and profits depends on our System’s

               ability to meet expectations for safe food and on our ability to manage

               the potential impact on McDonald’s of food-borne illnesses and food or

               product safety issues that may arise in the future, including in the

               supply chain, restaurants or delivery. Food safety is a top priority,

               and we dedicate substantial resources to ensure that our customers

               enjoy safe food products, including as our menu and service model

               evolve.”

      50.      This message is a core theme disseminated by Defendant to the public.

      51.      This theme is not new. Rather, it was Ray Kroc’s original vision “to

build a restaurant system known for consistently high-quality food and uniformity

in its preparation methods” which would “enable the company to consistently offer

its customers safe, high-quality food at an affordable price.”23




23Purdue University Center for Food and Agricultural Business, “Case Study:
McDonald’s Corporation” (2011) at 4, 9. Prepared by McDonald’s Corporation and
Kenneth McCorckle of Wells Fargo Bank. https://agribusiness.purdue.edu/wp-
content/uploads/2019/08/mcdonalds-case-study-2011.pdf.

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      52.    From this long-term, widescale marketing focus, McDonald’s

Corporation represents to consumers throughout the country that its Products are

safe from “farm to fork.”


      B.     Defendant’s Products Have Contained PFAs for Decades
      53.    In an effort to boost profits, McDonald’s Corporation began using PFAS
in its Products, and this practice has continued through many decades.
      54.    For example, in the 1990’s, McDonald’s Corporation changed the
packaging for its hash brown potatoes so that it would be lighter and take up less
space in an effort to reduce costs.24
      55.    Because the company shifted from a thick cardboard-like carton to a
“paper bag,” the company had problems with grease leaking.25
      56.    To solve this issue, McDonald’s Corporation added a 3M PFA called
Scotchban FC-807.26
      57.    The chemical stopped the grease problem and boosted McDonald’s
Corporation profits by millions of dollars each year.27
      58.    This chemical has also been used in other McDonald’s Corporation
packaging including containers used for the McWaffle Sticks28 and a similar
compound was used for the Big Mac.29




24 NORMAN J. CRAMPTON, PREVENTING WASTE AT THE SOURCE (1998) at 6-8.
25 Id.
26 Id.
27 Id.
28 PACKAGING WORLD, Innovative paper packs recognized by 3M (Oct. 31, 1999),
https://www.packworld.com/issues/sustainability/news/13332367/innovative-paper-
packs-recognized-by-3m.
29 Jim Butschli, Treated paper focuses on foodservice, PACKAGING WORLD (Nov. 30,
1997), https://www.packworld.com/design/materials-
containers/article/13329990/treated-paper-focuses-on-foodservice.



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      59.    Approximately twenty years before Defendant’s use of FC-807 in its
packaging, 3M confirmed that mice fed FC-807 had 4,000 times the normal levels of

organic fluorine compound.30
      60.    McDonald’s Corporation’s use of 3M’s PFAS was so prominent that it
was a finalist in the 1999 3M Scotchban Innovation Awards.31
      61.    In February 2017, when researchers detected PFAS in McDonald’s
packaging, it “denied the chain's packaging contained PFAS” and claimed that
"[o]ur packaging is safe for its intended use…”32
      62.    In November 2018, McDonald’s Corporation denied the use of PFAS in
its Products and declared that they were safe.33
      63.    After decades of use, finally in 2021, McDonald’s Corporation admitted
that it uses PFAS in its Products.34
      C.     Defendant’s Products Contain High Levels of PFAS
      64.    Rather than delivering food safety in each Product, Defendant delivers
Products that contain high levels of PFAS.


30 State of Minnesota v. 3M Co., Court File No. 27-CV-10-28862, Exhibit 1145 at 2,
https://s3.documentcloud.org/documents/4570511/MN-3M-1977-Fluorine-in-Blood-
Timeline.pdf.
31 PACKAGING WORLD, supra note 29 (“And a notable finalist in the awards program
was the McWaffle Sticks carton for Oak Brook, IL-based McDonald's Corp. Supplied
by Westvaco (New York, NY), the carton is treated with Scotchban protectors FC-
807 and FC-807A to keep syrup from staining the paperboard and to preserve
product crispness”).
32 The Dallas Morning News, Which fast-food wrappers may have more dangerous
chemicals than others? (Feb. 2, 2017), https://www.dallasnews.com/business/local-
companies/2017/02/02/which-fast-food-wrappers-may-have-more-dangerous-
chemicals-than-others/.
33 Tiffany Kary and Christopher Cannon, Cancer-linked Chemicals Manufactured by
3M Are Turning Up in Drinking Water, BLOOMBERG (Nov. 2, 2018),
https://www.bloomberg.com/graphics/2018-3M-groundwater-pollution-problem/. “A
spokeswoman for McDonald’s said its packaging doesn’t contain PFAS…” Id.
34 Mitchell Willets, McDonald’s vows to stop using potentially harmful chemicals in
packaging, MIAMI HERALD (Jan. 13, 2021),
https://www.miamiherald.com/news/nation-world/national/article248493160.html.



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      65.    Despite the multiple proclamations that McDonald’s Products did not
contain PFAS, numerous recent studies have shown the opposite.

      66.    In 2020, Toxic Free Future tested Defendant’s Products and found high
levels of PFAS in the packaging for the Big Mac, the French fries, and cookies.35




      67.    In 2022, Consumer Reports published a study that confirmed the
presence of high levels of PFAS in McDonald’s Corporation’s Products.36
      68.    The study found high level of PFAS in the following items:




      69.    The levels indicate the level of organic fluorine present in the item and
is represented in parts per million (PPM).
      70.    Notably, these Products are primarily the same items that were
revealed to contain high levels of PFAS in the 2020 study..



35 Jen Dickman, Erika Schreder, and Nancy Uding, Packaged in Pollution: Are food
chains using PFAS in packaging?, TOXIC-FREE FUTURE,
https://toxicfreefuture.org/packaged-in-pollution/.
36 Kevin Loria, Dangerous PFAS Chemicals Are in Your Food Packaging, CONSUMER
REPORTS (Mar. 24, 2022), https://www.consumerreports.org/pfas-food-
packaging/dangerous-pfas-chemicals-are-in-your-food-packaging-a3786252074.

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       71.    McDonald’s Corporation intentionally uses PFAS on its Products to
increase profits through a combination of reduced costs by using lower cost

packaging and increased sales by concealing the presence of PFAS.
       72.    The presence of PFAS in the Products is material to Plaintiffs,
customers, and Class Members.
       D.     PFAS Are Toxic and Pose Substantial Health Risks to Humans
              and the Environment

       73.    PFAS are synthetic chemicals that do not exist naturally in the

environment. They have been used for decades in industrial processes and to produce

consumer, household, and commercial products.

       74.    PFAS are “long lasting chemicals, components of which break down very

slowly over time.”37

       75.    “One common characteristic of concern of PFAS is that many break down

very slowly and can build up in people, animals, and the environment over time.38

       76.    Humans are more efficient at processing PFAS than the environment –

which can take over a 1000 years to eliminate.

       77.    While more efficient, it can still take multiple years to completely excrete

long-chain PFAS and months to completely excrete short-chain PFAS.39




37 PFAS Explained, EPA, https://www.epa.gov/pfas/pfas-explained.
38 Our Current Understanding of the Human Health and Environmental Risks of
PFAS, EPA, https://www.epa.gov/pfas/our-current-understanding-human-health-
and-environmental-risks-pfas.
39 Nicole W., Breaking It Down: Estimating Short-Chain PFAS Half-Lives in a
Human Population, ENVIRON HEALTH PERSPECT. 2020;128(11):114002,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7657368/.



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       78.    As a point of comparison, consumers are concerned about the presence of

bisphenol-a (BPA) in consumer products which is fully excreted in a few hours.40

       79.    Consumer products manufactured with PFAS were often promoted as

being resistant to heat and stains, long-lasting, and capable of repelling water, oil, and

grease. Companies have utilized PFAS to make, among other things, carpets, clothing,

fabrics for furniture, paper packaging for food, and other materials such as cookware

that are resistant to water, grease, or stains.

       80.    Although there are thousands of unique PFAS in existence, the details of

many of these compounds are proprietary and known only to manufacturers and

industrial users. But, what all PFAS share is that they contain multiple carbon-fluorine

bonds, considered one of the strongest in chemistry, making them highly persistent in

the environment and in human and animal bodies. In addition, the shared,

characteristic chemistry common to all PFAS confers on each of these compounds

hydrophobic and oleophobic properties, making PFAS effective surface protectors.41

       81.    PFAS are extremely soluble in water, which has led to their discovery in

groundwater, rivers, and the ocean, as well as drinking water resources, fish, and

marine mammals.

       82.    PFAS can be categorized as either “long-chain” or “short-chain” based on

the number of carbon atoms they contain. Long-chain PFAS contain 7 or more carbon

atoms, while PFAS containing fewer than 7 carbon atoms are considered short chain.



40 Genuis SJ, Beesoon S, Birkholz D, Lobo RA., Human excretion of bisphenol A:
blood, urine, and sweat (BUS) study, J. ENVIRON PUBLIC HEALTH, 2012;2012:185731,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3255175/.
41 See Per- and Polyfluoroalkyl Substances (PFAS), Nat’l Toxicology Program,
https://ntp.niehs.nih.gov/whatwestudy/topics/pfas/index.html.

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      83.    Long-chain PFAS such as perfluorooctanoic acid (PFOA) and

perfluorooctane sulfonate (PFOS) have been widely detected in environmental samples,

wildlife, and humans across the globe. Long-chain PFAS bioaccumulate and bio-

magnify in both humans and in wildlife.

      84.    In the Stockholm Convention on Persistent Organic Pollutants, PFOS is

listed in Annex B. Annex B consists of persistent organic pollutants whose production,

use, import, and export the Convention aims to restrict.

      85.    The European Union specifically regulates products containing PFAS,

restricting the manufacture or import of products containing more than 25 parts per

billion (ppb) of PFOA.

      86.    In October 2021, the US government announced its “PFAS Strategic

Roadmap,” which is an interagency plan to combat the continued use and release of

PFAS. As part of the Strategic Roadmap, the Environmental Protection Agency (EPA)

committed to designating PFOA and PFOS as “hazardous substances” under the

Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA);

finalizing a PFAS reporting rule under the Toxic Substances Control Act (TSCA)

section 8(e); and publishing toxicity assessments for 7 widely-used PFAS, including the

short-chain compound GenX, PFBA, PFHxA, PFHxS, PFNA, and PFDA.

      87.    Following announcement of the Strategic Roadmap, a majority of the

EPA’s Science Advisory Board (SAB) agreed with the EPA that PFOA is a “likely

carcinogen,” with some members supporting a designation of “carcinogen.” For PFOS,

the SAB indicated that the evidence supports a label of “likely carcinogen.”




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      88.    Short-chain PFAS unfortunately pose health and safety risks that are

similar to their long-chain counterparts.

      89.    Short-chain PFAS consist of multiple carbon-fluorine bonds, which, like

long-chain PFAS, makes them highly persistent in the environment. They also

bioaccumulate in human and animal bodies.

      90.    A 2019 study conducted by the U.S. Department of Health and Human

Services’ National Toxicology Program found that short-chain PFAS have the same

adverse effects as long-chain compounds. This study determined that both long and

short-chain PFAS compounds affect the same organ systems, with the greatest impact

observed in the liver and thyroid hormone.42

      91.    Humans may be exposed to PFAS through a variety of pathways,

including ingestion, inhalation, and skin absorption. Studies dating back at least a

decade have indicated that PFAS can be absorbed through skin, with evidence showing

that PFAS in the blood increase after application to skin.43

      92.    Many PFAS, both long and short chain, are toxic to humans at extremely

low levels. Exposure to certain PFAS is associated in the medical and scientific

literature with harmful and serious health effects in humans and animals, including

but not limited to: (a) altered growth; (b) impacts to learning and behavior of infants

and older children; (c) lowering a woman’s chance of getting pregnant; (d) interference

with the body’s natural hormones; (e) increased cholesterol levels; (f) modulation of the


42Id.
43Hillary L. Shane, Rachel Baur, Ewa Lukomska, Lisa Weatherly, Stacey E.
Anderson, Immunotoxicity and allergenic potential induced by topical application of
perfluorooctanoic acid (PFOA) in a murine model, Food and Chemical Toxicology,
Vol. 136 (2020),
https://www.sciencedirect.com/science/article/abs/pii/S0278691520300016.

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immune system; (g) testicular and kidney cancers; (h) thyroid disease; (i) high uric acid

levels; (j) elevated liver enzymes; (k) ulcerative colitis; and (l) pregnancy-induced

hypertension.

       93.    The International Agency for Research on Cancer (IARC) has classified

PFOA as possibly carcinogenic to humans.44

       94.    There is also evidence in the scientific literature that PFAS exposure is

positively correlated with certain metabolic diseases, such as diabetes, overweight,

obesity, and heart disease.

       95.    The Center for Disease Control’s Agency for Toxic Substances and Disease

Registry has recognized that exposure to PFAS may impact the immune system and

reduce antibody response to vaccines.45 This is especially significant given the current

public health risks posed by COVID-19 and efforts to protect against the virus with

vaccines.

       96.    PFAS are capable of crossing the placenta, meaning pregnant women

transfer PFAS to their unborn children. Women exposed to PFAS during pregnancy

have higher risks of gestational diabetes and pre-eclampsia, and their babies are more

likely to undergo abnormal growth in utero, leading to low birth weight, and later face

an increased risk of childhood obesity and infections.




44 See World Health Organization, Perfluorooctanoic acid,
https//monographs.iarc.who.int/wp-content/uploads/2018/06/mono110-01.pdf.
45 What are the health effects of PFAS?, Agency for Toxic Substances and Disease
Registry (June 24, 2020), https://www.atsdr.cdc.gov/pfas/health-effects/index.html.



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      97.    Research by professors at Harvard’s T.H. Chan School of Public Health

shows that babies breastfed by mother’s exposed to PFAS suffer significant

consequences:46

      “They found that, in children who were exclusively breastfed, PFAS
      concentrations in the blood increased by roughly 20%–30% each month,
      with lower increases among children who were partially breastfed. In some
      cases, by the end of breastfeeding, children’s serum concentration
      levels of PFASs exceeded that of their mothers’.”

      98.    A figure from the European Environmental Agency (“EEA”) shows the

“[e]ffects of PFAS on human health”:47




46Harvard  T.H. Chan Sch. of Pub. Health, Breastfeeding may expose infants to toxic
chemicals (Aug. 20, 2015), https://www.hsph.harvard.edu/news/press-
releases/breastfeeding-may-expose-infants-to-toxic-chemicals/ (emphasis added).
47 Emerging chemical risks in Europe — ‘PFAS’, EUR. ENV’T AGENCY (Dec. 12, 2019),
https://www.eea.europa.eu/publications/emerging-chemical-risks-in-europe.



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      99.    The EEA article further explained that “[p]eople most at risk of adverse

health impacts are those exposed to high levels of PFAS, and vulnerable population

groups such as children and the elderly.”48

      100.   The danger of PFAS is well known. On September 20, 2020, a New York

Times article titled, “These Everyday Toxins May Be Hurting Pregnant Women and

Their Babies” reported on the dangers of PFAS—particularly during gestation and in

early childhood development:49

      Scientists think these widely used industrial chemicals may harm
      pregnant women and their developing babies by meddling with
      gene regulators and hormones that control two of the body’s most
      critical functions: metabolism and immunity.

      More disturbing, PFAS can also alter levels of both mothers’ and babies’
      thyroid hormones, which oversee brain development, growth and
      metabolism, and also play a role in immunity. Prenatal PFAS exposures
      that disrupt metabolism and immunity may cause immediate and lasting
      effects on both mother and child. Women exposed to PFAS during
      pregnancy have higher risks of gestational diabetes and pre-eclampsia, a
      type of high blood pressure. Their babies are more likely to undergo
      abnormal growth in utero, leading to low birth weight, and later face
      increased risk of childhood obesity and infections.


      101.   Additionally, according to the EEA:50

      Costs to society arising from PFAS exposure are high, with the annual
      health related costs estimated to be EUR 52-84 billion across Europe in a
      recent study (Nordic Council of Ministers, 2019). The study notes that these
      costs are likely underestimated, as only a limited range of health effects
      (high cholesterol, decreased immune system and cancer) linked to exposure
      to a few specific PFAS were included in the estimates.



48 Id.
49 Liza Gross, These Everyday Toxins may be Hurting Pregnant Women and Their
Babies, N.Y. TIMES (Sept. 23, 2020),
https://www.nytimes.com/2020/09/23/parenting/pregnancy/pfas-toxinschemicals.
html.
50 EEA, supra note 47.



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      102.   This analysis has yet to be performed in the United States of America;

however, there is no reason to believe the conclusions would differ.

      103.   “The Madrid Statement,” a scientific consensus regarding the persistence

and potential for harm of PFAS substances issued by the Green Science Policy Institute

and signed by more than 250 scientists from 38 countries, recommended the following

actions in order to mitigate future harm: (1) discontinuing use of PFAS where not

essential or safer alternatives exist; (2) labeling products containing PFAS; and (3)

encouraging retailers and individual consumers to avoid products containing or

manufactured using PFAS whenever possible.51

      104.   Researchers have begun to find significant increases of certain short-

chain PFAS in the blood of sample populations, raising concerns that short-chain PFAS

are assuming the body burden once exclusively occupied by long-chain compounds.

      105.   Consumers are rightfully concerned about the presence or risk of PFAS in

various products.

      106.   However, PFAS are essentially unregulated at the federal level. For

example, the Safe Drinking Water Act (“SDWA”) protects public water supplies across

the U.S. and is enforced by the Environmental Protection Agency (EPA). Under this

law, the EPA has not (although it could) formally created a Maximum Contaminant

Level for PFAS in the water supply. Rather, the EPA has issued a health advisory for

PFOA and PFOS that serve as “informal technical guidance” to assist government




51Arlene Blum et al., The Madrid Statement, GREEN SCI. POL’Y INST.,
https://greensciencepolicy.org/our-work/science-policy/madrid-statement/.



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officials and water system managers in sampling and treating PFOA and PFOS in

drinking water.52

        107.   Over the past decade, several states have enacted maximum contaminant

levels regulating certain PFAS, including PFOA and PFOS, in drinking water.

        108.   California has been on the forefront of enacting legislation to manage and

lessen the health and safety risks of PFAS for its citizens.

        109.   The California Office of Environmental Health Hazard Assessment

(OEHHA), for example, has proposed a Public Health Goal for PFOA in drinking water

of 0.007 parts per trillion (ppt) and a Public Health Goal for PFOS of 1 ppt.53

        110.   California Health and Safety Code 116378 provides that the state can

order public water systems to monitor for PFAS. California’s Proposition 65 requires

products to carry a warning that they contain PFOA and PFOS if they are sold in

California and, if not, private enforcement action is permitted. In 2020, California

began requiring public water suppliers to notify customers if their water contains

PFAS.

        111.   In October 2020, California passed a law titled the Toxic Free Cosmetics

Act, Assembly Bill 2762, that, starting January 1, 2025, will prohibit the

manufacturing or selling of any cosmetic product with any intentionally added amount

of 24 specified chemicals, including PFAS.



52 PFAS Laws and Regulations, U.S. Environmental Protection Agency,
https://web.archive.org/web/20210325235307/https://www.epa.gov/pfas/pfas-laws-
and-regulations.
53 Perfluorooctanoic Acid (PFOA) and Perfluorooctane Sulfonic Acid (PFOS) in
Drinking Water, California Office of Environmental Health Hazard Assessment
(Oct. 5, 2021), https://oehha.ca.gov/water/report/perfluorooctanoic-acid-pfoa-and-
perfluorooctane-sulfonic-acid-pfos-drinking-water.

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      112.   In March 2021, California’s OEHHA released a Notice of Intent to list

PFOA as a carcinogen under Proposition 65. In December 2021, the OEHHA approved

the listing of PFOS as a carcinogen under Proposition 65.

      113.   California recently passed legislation banning the use of PFAS in paper-

based food packaging as well as the disclosure of the presence of PFAS in cookware.54

This bill, Assembly Bill 1200, builds off similar food-packaging legislation passed in

2020 in New York.55

      114.   The State of New York was one of the first to recognize that PFAS were

harmful to humans and should be regulated. In 2016, it took steps to regulate when

and how PFAS could knowingly be released into the environment, for example for

firefighting purposes.56 Then, in 2020, New York enacted a law prohibiting the sale of

food packaging containing PFAS, effective Dec. 31, 2022.57

      115.   Similarly, in July of 2021, the State of Connecticut signed a bill into law

banning the use of firefighting foam and food packaging that contains PFAS.58 An even

broader law was passed in Maine in July 2021 that bans PFAS in nearly all products,



54 Avinash Kar, CA Bill to Reduce Toxic PFAS Exposures Passed by Legislature,
Natural Resources Defense Council (Sep. 7, 2021),
https://www.nrdc.org/experts/avinash-kar/ca-bill-reduce-toxic-pfas-exposures-
passed-legislature.
55 Id.
56 Per- and Polyfluoroalkyl Substances (PFAS), Department of Environmental
Conservation, https://www.dec.ny.gov/chemical/108831.html.
57 New York Bans PFAS in Food Packaging, National Law Review, Volume X,
Number (Dec. 15, 2020), https://www.natlawreview.com/article/new-york-bans-pfas-
food-packaging.
58 Governor Lamont Signs Legislation Banning Use Of PFAS-Containing
Firefighting Foam in October, Phases Out PFAS-Containing Food Packaging In
2023, The Office of Govenor Ned Lamont (Jul 20, 2021), https://portal.ct.gov/Office-
of-the-Governor/News/Press-Releases/2021/07-2021/Governor-Lamont-Signs-
Legislation-Banning-Use-Of-PFAS.



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stating as of Jan. 1, 2030, “a person may not sell, offer for sale or distribute for sale” in

Maine products where PFAS has been “intentionally added” except in cases of

“unavoidable use.”59 Similar legislation has also been passed in Vermont and

Washington.60

       116.   In 2018, 3M reached an $850 million settlement with the State of

Minnesota brought by the Attorney General alleging that 3M’s production of PFAS

damaged the drinking water and resources throughout the Minneapolis/St. Paul area,

including within residential areas.61

       117.   A similar personal injury case was filed on behalf of citizens of West

Virginia against DuPont related to discharges of PFAS from a manufacturing site into

local water sources. That case settled in 2017 for $671 million.62

       118.   In 2021, DuPont, Chemours and Corteva reached a $4 billion settlement

over PFAS liabilities,63 in addition to a $83 million settlement with plaintiffs in Ohio

for personal injury claims.



59 Sebastien Malo, Maine outlaws PFAS in products with pioneering law, REUTERS
(Jul. 16, 2021), https://www.reuters.com/legal/litigation/maine-outlaws-pfas-
products-with-pioneering-law-2021-07-16/.
60 Connecticut and Vermont Ban PFAS in Food Packaging, NATIONAL LAW REVIEW,
Volume XI, Number 182 (Jul. 1, 2021),
https://www.natlawreview.com/article/connecticut-and-vermont-ban-pfas-food-
packaging.
61 Minnesota 3M PFAS Settlement, https://3msettlement.state.mn.us/.
62 Arathy S Nair, DuPont settles lawsuits over leak of chemical used to make Teflon,
REUTERS (Feb. 13, 2017), https://www.reuters.com/article/us-du-pont-lawsuit-west-
virginia/dupont-settles-lawsuits-over-leak-of-chemical-used-to-make-teflon-
idUSKBN15S18U.
63 DuPont, Chemours and Corteva Reach $4 Billion Settlement on ‘Forever

Chemicals’ Lawsuits, EWG (Jan. 22, 2021), https://www.ewg.org/news-
insights/news-release/dupont-chemours-and-corteva-reach-4-billion-settlement-
forever-chemicals.


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          119.   As the risks associated with PFAS become more widely known, it is likely

that consumer awareness will continue to grow. It is reasonable for consumers to be

concerned about these chemicals, which carry significant health risks and are often

undisclosed by manufacturers.


          E.     The Use of PFAS in Food Packaging
          120.   PFAS have been used in food packaging since the 1940s due to their
water-resistant and grease-resistant properties.64
          121.   PFAS that are in food packaging have been shown to migrate into the
food.65
          122.   As Justin Boucher of The Food Packaging Forum summarizes: “[w]e
know that that these substances migrate into food that you eat. It’s clear, direct
exposure.”66
          123.   Migration from packaging into the food item “increases with higher
temperatures, longer contact time, and the presence of emulsifiers.”67
          124.   Further, migration is more likely to occur where foods have high levels
of fat and sodium.68
          125.   All of these factors are present in fast food environments including at
Defendant’s restaurants.

64 Ramírez Carnero A, Lestido-Cardama A, Vazquez Loureiro P, Barbosa-Pereira L,
Rodríguez Bernaldo de Quirós A, Sendón R., Presence of Perfluoroalkyl and
Polyfluoroalkyl Substances (PFAS) in Food Contact Materials (FCM) and Its
Migration to Food, FOODS. 2021; 10(7):1443, http://www.mdpi.com/2304-
8158/10/7/1443
65 T. H. Begley, W. Hsu, G. Noonan & G. Diachenko (2008) Migration of

fluorochemical paper additives from food-contact paper into foods and food
simulants, FOOD ADDITIVES & CONTAMINANTS: PART A, 25:3, 384-
390, https://www.tandfonline.com/doi/abs/10.1080/02652030701513784.
66 Loria, supra note 36.
67 Begley, supra note 65.
68 Ramírez, supra note 64.




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      126.     For decades, McDonald’s Corporation has been under fire for high
levels of sodium and fat in its food items.69

      127.     Studies show that consumption of restaurant food and popcorn is
associated with higher blood concentrations of PFAS that is attributed to migration
from food packaging.70
      128.     The presence of PFAS in food packaging is not incidental; rather, it is
intentional.
      129.     As noted by Dr. Rainer Lohmann, “If a product is showing really high
fluorine levels, companies really can’t claim they didn’t use PFAS.”71
      130.     Alternatives to using PFAS exist, but they come at higher costs for
food companies.72
      131.     In pursuit of higher profits, many restaurants – like McDonald’s
Corporation – cut corners by using PFAs to the detriment of consumers and the
public.


69 See, e.g., Jack Beresford, McDonald's Fans Divided on Video Showing How Fries
Are Made—'So Much Salt', NEWSWEEK (Feb. 2, 2022),
https://www.newsweek.com/mcdonalds-fans-divided-video-showing-fries-recipe-
1675053. and Marian Burros, EATING WELL; McDonald's Fat Debate Goes On,
The New York Times (Sep. 11, 2002),
https://www.nytimes.com/2002/09/11/dining/eating-well-mcdonald-s-fat-debate-goes-
on.html.
70 Susmann, H.P.; Schaider, L.A.; Rodgers, K.M.; Rudel, R.A. Dietary habits related
to food packaging and population exposure to PFASs. ENVIRON. HEALTH PERSPECT.
2019, 127, 107003, https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092.
71 Joe Fassler, The bowls at Chipotle and Sweetgreen are supposed to be
compostable. They contain cancer-linked “forever chemicals.”, THE COUNTER (Aug. 5,
2019), https://thecounter.org/pfas-forever-chemicals-sweetgreen-chipotle-
compostable-biodegradable-bowls/.
72 OECD (2020), PFASs and Alternatives in Food Packaging (Paper and
Paperboard) Report on the Commercial Availability and Current Uses, OECD Series
on Risk Management, No. 58, Environment, Health and Safety, Environment
Directorate, OECD., https://www.oecd.org/chemicalsafety/portal-perfluorinated-
chemicals/PFASs-and-alternatives-in-food-packaging-paper-and-paperboard.pdf;
Pat Rizzuto, PFAS in Food Packaging Driven by Costs of Substitutes, OECD Says,
Bloomberg Law (Sept. 25, 2020), https://news.bloomberglaw.com/environment-and-
energy/pfas-in-food-packaging-driven-by-costs-of-substitutes-oecd-says.

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      132.   This “profits over people” approach passes the costs from McDonald’s
Corporation and places it on McDonald’s customers and the general public.

      133.   Rather than pay increased costs of a few cents per unit, McDonald’s
Corporation shifts these costs to consumers throughout the country.
      134.   The costs will ultimately be paid by multiple generations of Americans
with health and environmental ailments caused by exposure to PFAS.


      F.     Defendant’s Misrepresentations and Omissions Are Actionable
      135.   Plaintiffs and the Class Members reasonably relied to their detriment
on Defendant’s misleading representations and omissions.
      136.   Defendant's false, misleading, and deceptive misrepresentations and
omissions are likely to continue to deceive and mislead reasonable consumers as
they have already deceived and misled the Plaintiffs and the Class Members.
      137.   Defendant misrepresents that its Products are safe when they contain
dangerous PFAS.
      138.   This is not only implied by Defendant selling a food item but also
through a widescale marketing campaign and brand that expresses food safety.
      139.   The presence of PFAS in the Products has been confirmed by multiple
studies including studies published as recently as March 2022.
      140.   Further, for many decades, Defendant concealed its use of PFAS in the
Products by denying it used PFAS.
      141.   These misrepresentations and omissions were done to increase
Defendant’s profits.
      142.   Plaintiffs and the Class were injured by the full purchase price of the
Products because the Products are worthless, as they are adulterated and contain

harmful levels of PFAS, and Defendants failed to warn or misrepresented this fact
to consumers. Such illegally sold Products are worthless and have no value.

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      143.   Plaintiffs and Class Members bargained for food products that are free
of contaminants and dangerous substances and were deprived the basis of their

bargain when Defendants sold them a product containing dangerous PFAS, which
rendered the Products unmerchantable and unfit for use.
      144.   No reasonable consumer would expect that a product marketed as safe
would contain dangerous PFAS—which scientific studies indisputably link to
harmful health effects in humans. Accordingly, Plaintiffs and Class Members
suffered economic injuries as a result of purchasing the Products.
      145.   As the Products expose consumers to PFAS that pose a risk to both
consumers’ health and the environment, the Products are not fit for use by humans.
Plaintiffs and the Class Members are further entitled to damages for the injury
sustained in being exposed to high levels of toxic PFAS, damages related to
Defendant’s conduct, and injunctive relief.
      146.   As alleged herein, Plaintiffs and the Class Members received
something worth less than what they paid for and did not receive the benefit of
their bargain. They paid for the Products, which were supposed to be safe for
human consumption, but Plaintiffs and the Class Members received Products that
were unsafe for human consumption due to the presence of dangerous PFAS.
      147.   Plaintiffs and the Class Members all paid money for the Products.
However, Plaintiffs and the Class Members did not obtain the full value of the
advertised Products due to Defendant's misrepresentations and omissions.
Plaintiffs and the Class Members purchased, purchased more of, and/or paid more
for, the Products than they would have had they known the truth about the
Products. Consequently, Plaintiffs and the Class Members have suffered injury in
fact and lost money as a result of Defendant's wrongful conduct.




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        148.   Plaintiffs seek to recover damages because the Products are
adulterated, defective, worthless, and unfit for human use due to the presence of

PFAS.


         TOLLING AND ESTOPPEL OF STATUTE OF LIMITATIONS


        149.   Any applicable statute of limitations has been tolled by Defendant’s

knowing and active concealment of the presence or risk of PFAS in the Products and
the misrepresentations and omissions alleged herein. Through no fault or lack of
diligence, Plaintiffs and Class Members were deceived regarding the Products and
could not reasonably discover that they contained PFAS.
        150.   Plaintiffs and Class Members did not discover and did not know of any
facts that would have caused a reasonable person to expect that the Defendant was
concealing the presence or risk of PFAS in the Products. As alleged herein, the
presence or risk of PFAS was material to Plaintiffs and Class Members at all
relevant times. Within the time period of any applicable statute of limitations,
Plaintiffs and Members of the Class would not have discovered through the
existence of reasonable diligence that the Products contain PFAS.
        151.   At all times, Defendant is and was under a continuous duty to disclose

to Plaintiffs and the Class the true standard, quality, and grade of the Products and
to disclose the presence of PFAS due to its exclusive and superior knowledge of the
contents and ingredient sourcing for the Products.
        152.   Defendant knowingly, actively, and affirmatively concealed the facts
alleged herein. Plaintiffs and Class Members reasonably relied on Defendant’s
knowing, active, and affirmative concealment.
        153.   For these reasons, all applicable statutes of limitation have been tolled
based on the discovery rule and Defendant’s fraudulent concealment, and



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Defendant is estopped from relying on any statues of limitations in defense of this
action.
                  CLASS DEFINITIONS AND ALLEGATIONS

      154.   Plaintiffs, pursuant to Federal Rule of Civil Procedure 23, bring this

action on behalf of the following classes (collectively, the “Class,” “Classes,” and

“Class Members”):

          a. Multi-State Consumer Class: All persons in the States of California,

             Florida, Illinois, Massachusetts, Minnesota, Missouri, New Jersey,

             New York, Pennsylvania, Oregon, and Washington who purchased the

             Products.73

          b. Illinois Class: All persons who purchased Defendant’s Product within

             the State of Illinois and within the applicable statute of limitations.

          c. Pennsylvania Class: All persons who purchased Defendant’s Product

             within the Commonwealth of Pennsylvania and within the applicable

             statute of limitations.

          d. Nationwide Class: All persons who purchased Defendant’s Product

             within the United States and within the applicable statute of

             limitations period.

73The States in the Multi-State Consumer Class are limited to those States with
similar consumer protection laws under the facts of this case: California (Cal. Bus.
& Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815
ILCS 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan
(Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.);
Missouri (Mo. Rev. Stat. 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.);
New York (N.Y. Gen. Bus. Law § 349, et seq.); Pennsylvania (73 Pa. Stat. Ann. §§
201-1 et seq.); Oregon (Or. Rev. Stat. §§ 646.605, et seq.); and Washington (Wash
Rev. Code § 19.86.010, et seq.).



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      155.   Excluded from the Classes are Defendant, its parents, subsidiaries,

affiliates, officers, and directors, those who purchased the Product for resale, all

persons who make a timely election to be excluded from the Classes, the judge to

whom the case is assigned and any immediate family members thereof.

      156.   The members of the Classes are so numerous that joinder of all Class

Members is impracticable. Defendant has sold, at a minimum, over one hundred

million units of the Products to Class Members.

      157.   There is a well-defined community of interest in the questions of law

and fact involved in this case. Questions of law and fact common to the members of

the putative classes that predominate over questions that may affect individual

Class Members include, but are not limited to the following:

          a. whether Defendant misrepresented material facts concerning the

             Products;

          b. whether Defendant omitted material facts concerning the Products;

          c. whether Defendant’s conduct was unfair and/or deceptive;

          d. whether Defendant has been unjustly enriched as a result of the

             unlawful, deceptive, fraudulent, and unfair conduct alleged in this

             Complaint such that it would be inequitable for Defendant to retain

             the benefits conferred upon them by Plaintiffs and the Class;

          e. whether Plaintiffs and the Class are entitled to equitable and/or

             injunctive relief;




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          f. whether Defendant breached express and implied warranties to

             Plaintiffs and the Class; and

          g. whether Plaintiffs and the Class have sustained damages with respect

             to the claims asserted, and if so, the proper measure of their damages.

      158.   Plaintiffs’ claims are typical of those of other Class Members because

Plaintiffs, like all members of the classes, purchased Defendant’s Products and

sustained damages from Defendant’s wrongful conduct.

      159.   Plaintiffs will fairly and adequately protect the interests of the classes

and have retained counsel that is experienced in litigating complex class actions.

      160.   Plaintiffs have no interests which conflict with those of the classes.

      161.   A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this class action. The damages or other financial

detriment suffered by Plaintiffs and the other Class Members are relatively small

compared to the burden and expense that would be required to individually litigate

their claims against Defendant, making it impracticable for Class Members to

individually seek redress for Defendant’s wrongful conduct. Even if Class Members

could afford individual litigation, the court system could not. Individualized

litigation creates a potential for inconsistent or contradictory judgments, and

increases the delay and expense to all parties and the court system. By contrast, the

class action device presents far fewer management difficulties, and provides the




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benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court.

         162.   The prerequisites to maintaining a class action for equitable relief are

met as Defendant has acted or refused to act on grounds generally applicable to the

classes, thereby making appropriate equitable relief with respect to the classes as a

whole.

         163.   The prosecution of separate actions by members of the Classes would

create a risk of establishing inconsistent rulings and/or incompatible standards of

conduct for Defendant. For example, one court might enjoin Defendant from

performing the challenged acts, whereas another might not. Additionally, individual

actions could be dispositive of the interests of the classes even where certain Class

Members are not parties to such actions.



                                 CAUSES OF ACTION

                                      COUNT I
                  Violation of State Consumer Protection Statutes
                   (On Behalf of the Multi-State Consumer Class)

         164.   Plaintiffs Clark and Hauser repeat and reallege each and every

allegation above as if set forth herein.

         165.   The Consumer Protection Acts of the States in the Multi-State

Consumer Class prohibit the use of unfair or deceptive business practices in the

conduct of trade or commerce.




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         166.   Defendant intended that Plaintiffs Clark and Hauser and the other

members of the Multi-State Consumer Class would rely upon their deceptive

conduct, and a reasonable person would in fact be misled by its deceptive conduct.

         167.   As a result of the Defendant’s use or employment of unfair or deceptive

acts or business practices, Plaintiffs Clark and Hauser , and other members of

Multi-State Consumer Class, have sustained damages in an amount to be proven at

trial.


                                      COUNT II
                   Violation of the Illinois Consumer Fraud and
                    Deceptive Business Practices Act (“ICFA”),
                               815 ILCS 502/1 et seq.
         (In the Alternative to Count I and on behalf of the Illinois Class)

         168.   Plaintiff Clark repeats and realleges each and every factual allegation
contained in the foregoing paragraphs as if fully set forth herein.
         169.   Plaintiff Clark brings this claim individually and on behalf of the
members of the proposed Illinois Class against the Defendant.
         170.   The Illinois Consumer Fraud and Deceptive Business Practices Act
(“ICFA”), 815 ILCS 505/1, et seq., prohibits any deceptive, unlawful, unfair, or
fraudulent business acts or practices including using deception, fraud, false
pretenses, false promises, false advertising, misrepresentation, or the concealment,
suppression, or omission of any material fact, or the use or employment of any
practice described in Section 2 of the “Uniform Deceptive Trade Practices Act.” 815
ILCS 505/2.
         171.   The ICFA applies to Defendant’s acts as described herein because it
applies to transactions involving the sale of goods or services to consumers.
Defendant is a “person,” as defined by 815 ILCS 505/1(c).



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         172.   Plaintiff Clark is a “consumer,” as defined by 815 ILCS 505/1(e),
because he purchased McDonald’s Products.

         173.   McDonald’s Products are “merchandise,” as defined by 815 ILCS
505/1(b).
         174.   Defendant made false and fraudulent statements, and misrepresented,
concealed, and omitted material facts regarding the Products, including the
misrepresentation that their Products were safe for human consumption and the
omission that their Products contained dangerous PFAS.
         175.   Defendant’s misrepresentations and omissions regarding the Products
constitute deceptive and unfair acts or practices prohibited by the ICFA.
         176.   Defendant’s aforementioned misrepresentations and omissions have
the tendency or capacity to mislead and create the likelihood of consumer confusion.
         177.   Defendant’s aforementioned misrepresentations and omissions were
used or employed in the conduct of trade or commerce, namely, the marketing, sale,
and distribution of the Products (respectively) to Plaintiff Clark and the Illinois
Class.
         178.   Defendant’s aforementioned misrepresentations and omissions are
unfair business practices because they offend public policy and/or cause substantial
injury to consumers.
         179.   Also, the Illinois Consumer Fraud and Deceptive Business Practices
Act protects consumers when purchasing products, including Defendant’s Products,
and provides that: Unfair methods of competition and unfair or deceptive acts or
practices, including but not limited to the use or employment of any deception
fraud, false pretense, false promise, misrepresentation or the concealment,
suppression or omission of any material fact, with intent that others rely upon the

concealment, suppression or omission of such material fact . . . . 815 ILCS 505/2.



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      180.   Defendant intended that Plaintiff Clark and the Illinois Class
Members rely on the above-referenced false statements, misrepresentations, and

omissions of material fact in purchasing the Products.
      181.   Plaintiff Clark and Illinois Class Members reasonably relied on
Defendant’s respective misrepresentations and omissions when they bought the
Products.
      182.   Had Plaintiff Clark and Illinois Class Members been aware of the true
facts regarding the presence of toxic PFAS in the Products, they would have
declined to purchase the Products.
      183.   Plaintiff Clark and Illinois Class Members suffered injuries in fact—
i.e., the loss of the money that they paid for the Products under the belief that they
were safe for human consumption and did not contain dangerous PFAS.
      184.   Acting as reasonable consumers, Plaintiff Clark and Illinois Class
Members could not have avoided the injuries suffered by purchasing the Products
because they did not have any reason to suspect that McDonald’s Products
contained toxic PFAS. Moreover, the detection of PFAS requires rigorous and
specialized scientific testing that goes well beyond the level of inquiry a reasonable
consumer would make into the issue, and, in any event, such testing was not readily
available to Plaintiff Clark and Illinois Class Members at the time they purchased
the Products.
      185.   As a direct and proximate result of Defendant’s unfair and deceptive
acts or practices, Plaintiff Clark and Illinois Class Members suffered damages by
purchasing the Products because they would not have purchased those brands of
food products had they known the truth, and they received products that were
worthless because they contain (or had a risk of containing) dangerous PFAS.




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                                COUNT III
   Violation of the Pennsylvania Unfair Trade Practices and Consumer
                        Protection Act (“UTPCPL”),
                      73 Pa. Cons. Stat. §§ 201-1 et seq.
     (In the Alternative to Count I and on behalf of the Pennsylvania Class)

      186.   Plaintiff Hauser repeats and realleges each and every factual
allegation contained in the foregoing paragraphs as if fully set forth herein.
      187.   Plaintiff Hauser brings this claim individually and on behalf of the
members of the proposed Pennsylvania Class against the Defendant.
      188.   Pennsylvania’s Unfair Trade Practices and Consumer Protection Law,
73 Pa. Stat. Ann. §§ 201-1 et seq. (the “UTPCPL”) makes unlawful “[u]nfair
methods of competition and unfair or deceptive acts or practices in the conduct of
any trade or commerce. . . .”
      189.   The UTPCPL specifically defines what constitutes unfair methods of
competition and unfair or deceptive acts or practices. Defendant engaged in unfair
methods of competition and unfair or deceptive acts or practices in the conduct of its
trade and commerce in violation of the UTPCPL, including the following:
          a. representing that its goods and services have characteristics, uses,
             benefits, and qualities they do not have (73 Pa. Cons. Stat. § 201-
             2(4)(v));
          b. representing that its goods and services are of a particular standard or
             quality if they are another (73 Pa. Cons. Stat. § 201-2(v)(vii));
          c. advertising its goods and services with intent not to sell them as
             advertised (73 Pa. Cons. Stat. § 201-2(4)(ix)); and
          d. engaging in any other fraudulent or deceptive conduct which creates a
             likelihood of confusion or of misunderstanding (73 Pa. Cons. Stat. §
             201- 2(v)(xxi)).
      190.   Defendant is a “person,” as meant by 73 Pa. Cons. Stat. § 201-2(2).


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      191.   Plaintiff Hauser and Pennsylvania Class Members purchased goods
and services in “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3),

primarily for personal, family, and/or household purposes.
      192.   As alleged more fully above, Defendant misrepresented the Products’
safety and presence of PFAS, and delivered Products’ that do not meet consumer
expectations.
      193.   Further, Defendant delivered Products’ which are not fit for their
general purpose.
      194.   Defendant’s representations and omissions were material because they
were likely to deceive reasonable consumers.
      195.   Defendant intended that Plaintiff Hauser and other Pennsylvania
Class Members rely on its omissions and misrepresentations, and this reliance was
crucial to Defendant commanding a premium price for the Products because the
Products are worth far less than as represented by Defendant.
      196.   As a direct and proximate result of Defendant’s deceptive acts and
practices, Plaintiff Hauser and the Pennsylvania Class Members have suffered and
will continue to suffer injury, ascertainable losses of money or property, and
monetary and nonmonetary damages, including from not receiving the benefit of
their bargain in purchasing the Products.
      197.   Defendant deceived and continues to deceive consumers about the
quality and ingredients of the Products. This conduct constitutes unfair or deceptive
acts or practices within the meaning of the UTPCPL. This illegal conduct by
Defendant is continuing, with no indication that it will cease.
      198.   Accordingly, Defendant’s deceptive, false and misleading statements
deceived Plaintiff Hauser and Pennsylvania Class Members and a substantial

segment of the target consumer audience and improperly influenced consumers’



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purchasing decisions, as Plaintiff Hauser and Pennsylvania Class Members relied
on such misrepresentations in violation of the UTPCPL.

      199.   Plaintiff Hauser and the Pennsylvania Class Members seek all
monetary and nonmonetary relief allowed by law, including actual damages or
statutory damages of $100 (whichever is greater), treble damages, attorneys’ fees
and costs, and any additional relief this Court deems necessary or proper.


                                   COUNT IV
                          Breach of Express Warranties
      200.   Plaintiffs repeat and reallege each and every factual allegation
contained in the foregoing paragraphs as if fully set forth herein.
      201.   Plaintiffs bring this claim individually and on behalf of the members of
the proposed Nationwide Class against the Defendant.
      202.   As discussed above, Defendant promised and expressly warranted that
the Products are safe.
      203.   Plaintiffs and Class Members relied on these representations when
purchasing Products.
      204.   These promises and affirmations of fact constitute express warranties
that became part of the basis of the bargain between Plaintiffs, Class Members, and

the Defendant.
      205.   All conditions precedent to Defendant’s liability under the contract,
including notice, have been performed by Plaintiffs and the Class Members.
      206.   Defendant has breached the terms of its express warranties by failing
to provide the Products as warranted.
      207.   Defendant knowingly breached the express warranties by including
PFAS in the Products.




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      208.   Defendant was on notice of these breaches because it had knowledge of
the defect because it intentionally included the PFAS into the Products.

      209.   Further, Plaintiffs notified Defendant of these breaches through an
email from counsel prior to the filing of this lawsuit.
      210.   As a result of Defendant’s breach of its warranties, Plaintiffs and
others similarly situated have been damaged and seek damages in the amount of
the purchase price of the Products.
                                        COUNT V
                    Breach of the Implied Warranty of Merchantability

      211.   Plaintiffs repeat and reallege each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      212.   Plaintiffs assert this claim individually and on behalf of the

Nationwide Class.

      213.   Defendant is a “merchant” as defined under the U.C.C. and by the

respective state statutes under which Plaintiffs alternatively assert this claim.

      214.   The Products are “goods” as defined under the U.C.C. and by the

respective state statutes under which Plaintiffs alternatively bring this claim.

      215.   There was a sale of goods from Defendant to Plaintiffs and Class

Members.

      216.   At all times mentioned herein, Defendant manufactured, distributed,

marketed, and sold the Products, and prior to the time such products were

purchased by Plaintiffs and the Class Members, Defendant impliedly warranted to

them that the Products were of merchantable quality, fit for their ordinary use, and




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conformed to the promises and affirmations of fact made that the Products were

healthy, wholesome, nutritious and safe for consumption.

      217.   Plaintiffs and the Class Members relied on Defendant’s promises and

affirmations of fact when they purchased the Products.

      218.   The Products were not fit for their ordinary use, consumption by

people, and did not conform to Defendant’s affirmations of fact and promises as they

contained high, dangerous amounts of PFAS.

      219.   Defendant breached its implied warranties by selling the Products that

failed to conform to the promises or affirmations of fact made concerning each

Product because they contained dangerous PFAS.

      220.   Defendant was on notice of these breaches because it had knowledge of

the defect because it intentionally included the PFAS into the Products.

      221.   Further, Plaintiffs notified Defendant of these breaches through an

email from counsel prior to the filing of this lawsuit.

      222.   Privity exists because Defendant sold the Products to the Plaintiffs

and Class Members. Further, Defendant expressly warranted to Plaintiffs and the

Class Members that the Products were safe for consumption, which was untrue as

described hereinabove. Defendant knew that consumers such as Plaintiffs and the

Class Members would be the end purchasers of the Products and the target of their

marketing. Defendant intended its marketing to be considered by the end

purchasers of the Products, including Plaintiffs and the Class Members. Defendant

directly marketed to Plaintiffs and the Class Members.




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      223.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and

the Class Members have suffered actual damages in that they have purchased the

Products which are worth less than the price they paid and that they would not

have purchased at all had they known of the presence of dangerous PFAS.

      224.   Plaintiffs and the Class Members seek actual damages, injunctive and

declaratory relief, attorneys’ fees, costs, and any other just and proper relief

available thereunder for Defendant’s failure to deliver goods conforming to their

implied warranties and resulting breach.



                                    COUNT VI
                Violation of the Magnusson-Moss Warranty Act,
                       15 U.S.C. §§ 2301 et seq. (“MMWA”)

      225.   Plaintiffs repeat and reallege each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      226.   Plaintiffs assert this claim individually and on behalf of the

Nationwide Class.

      227.   Plaintiffs and Class Members are “consumers” within the meaning of

the MMWA. 15 U.S.C. § 2301(3).

      228.   The Products are “consumer products” within the meaning of the

MMWA. 15 U.S.C. § 2301(1).

      229.   Defendant is a “supplier” and “warrantor” within the meaning of the

MMWA. 15 U.S.C. § 2301(4)-(5).

      230.   Defendant’s express warranties are written warranties within the

meaning of Section 2301(6) of the MMWA. The Products’ implied warranties are


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accounted for under Section 2301(7) of the MMWA. Defendant cannot disclaim

implied warranties under the MMWA because Defendant knowingly sold a defective

product without informing consumers about the defects.

      231.   As set forth herein, Defendant breached its warranties with Plaintiffs

and Class Members.

      232.   The Products share common defects in that they are unsafe and unfit

for human consumption.

      233.   Defendant had knowledge of these defects at the time the Products

were delivered to Plaintiffs and the Class Members because Defendant intentionally

used PFAS in each Product.

      234.   Prior to the filing of this Complaint, Plaintiffs sent a pre-suit notice

concerning the defects described herein and consumers’ experiences with the defects

to both Defendant and retailer.

      235.   As a direct and proximate result of Defendant’s breach of implied and

express warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiffs and Class

Members have suffered damages in an amount to be proven at trial.

      236.   The amount in controversy for the Plaintiffs’ and Class Members’

individual claims meets or exceeds the sum of $25. The total amount in controversy

of this action in sum exceeds $50,000, exclusive of interest and costs, computed on

the basis of all claims to be determined in this lawsuit.

      237.   Plaintiffs and Class Members are entitled to recover damages as a

result of Defendant’s breach of warranties.




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      238.   Plaintiffs and Class Members are also entitled to seek costs and

expenses, including attorneys’ fees, under the MMWA. 15 U.S.C. § 2310(d)(2).

                                    COUNT VII
                                Unjust Enrichment
      239.   Plaintiffs repeat and reallege each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      240.   Plaintiffs bring this claim individually and on behalf of the Nationwide

Class against the Defendant.

      241.   At all times relevant hereto, Defendant deceptively marketed,

advertised, and sold merchandise to Plaintiff and the Class.

      242.   Plaintiffs and members of the Class conferred upon Defendant

nongratuitous payments for the Products that they would not have if not for

Defendant’s deceptive advertising and marketing. Defendant accepted or retained

the nongratuitous benefits conferred by Plaintiffs and members of the Class, with

full knowledge and awareness that, as a result of Defendant’s deception, Plaintiffs

and members of the Class were not receiving a product of the quality, nature,

fitness, or value that had been represented by Defendant and reasonable consumers

would have expected.

      243.   Defendant has been unjustly enriched in retaining the revenues

derived from Plaintiffs’ and Class Members’ purchases of the Products. Retention of

those monies under these circumstances is unjust and inequitable because of

Defendant’s misrepresentations about the Products, which caused injuries to




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Plaintiffs and Class Members because they would not have purchased the Products

if the true facts had been known.

      244.   Because Defendant’s retention of the non-gratuitous benefits conferred

on it by Plaintiffs and members of the Classes is unjust and inequitable, Defendant

must pay restitution to Plaintiffs and members of the Class for its unjust

enrichment, as ordered by the Court.


                               RELIEF DEMANDED
      245.   WHEREFORE, Plaintiffs, individually and on behalf of all others

similarly situated, seeks judgment against Defendant, as follows:
         a. For an order certifying the Class under Rule 23 of the Federal Rules of
             Civil Procedure and naming Plaintiffs as representatives of the Classes
             and Plaintiffs’ attorneys as Class Counsel to represent the members of

             the Classes;
         b. For an order declaring the Defendant’s conduct violates the statutes
             and laws referenced herein;
         c. For an order awarding, as appropriate, compensatory and monetary
             damages, restitution or disgorgement to Plaintiffs and the Classes for

             all causes of action;
         d. For an order requiring Defendant to immediately cease and desist from
             selling their misbranded Products in violation of law; enjoining
             Defendant from continuing to label, market, advertise, distribute, and
             sell the Products in the unlawful manner described herein; and
             ordering Defendant to engage in corrective action;
         e. For prejudgment and postjudgment interest on all amounts awarded;
         f. For an order awarding punitive damages; and



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          g. For an order awarding attorneys’ fees and expenses and costs of suit.



                                  JURY DEMAND
Plaintiffs demand a trial by jury on all causes of action and issues so triable.



Dated: April 20, 2022
                                                               Respectfully submitted,



                                                              By: /s/ Steffan T. Keeton

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                                                   Counsel for Plaintiffs and the Class




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